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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
                                             )                 8:13CR287
       vs.                                   )
                                             )                   ORDER
J. MERCED RODRIGUEZ-BARAJAS,                 )
                                             )
                     Defendant.              )
                                             )


       This matter is before the court on the unopposed defendant’s motion to continue trial
[58] due to a scheduling conflict. The court finds good cause being shown and the trial will
be continued. The defendant has complied with NECrimR 12.1(a).


       IT IS ORDERED that the motion to continue trial is granted, as follows:

       1. The jury trial now set for January 7, 2014 is continued to February 4, 2014 for
       all defendants.

        2.      In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends
of justice will be served by granting this continuance and outweigh the interests of the
public and the defendant in a speedy trial. Any additional time arising as a result of the
granting of this motion, that is, the time between today’s date and February 4, 2014, shall
be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act. Failure to grant a continuance would deny counsel for the defendant the
reasonable time necessary for effective preparation, taking into account the exercise of due
diligence. 18 U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED December 13, 2013.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
